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                                 UNITED STATES DISTRICT COURT

                                          DISTRICT OF NEVADA

                                                    ***

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )                  Case No. 2:12-cr-00084-MMD-GWF
                                          )
vs.                                       )                  MINUTE ORDER
                                          )
ROGER GRODESKY,                           )
                                          )
                  Defendant.              )
__________________________________________)                  Dated: September 3, 2013

PRESENT:      THE HONORABLE GEORGE FOLEY, JR., U.S. Magistrate Judge

JUDICIAL ASSISTANT:          Julia Hill       RECORDER:             None

COUNSEL FOR PLAINTIFF:                     None Appearing

COUNSEL FOR DEFENDANT:                     None Appearing

       TAKE NOTICE THAT pursuant to the Stipulation to Extend Government’s Time to Respond to
Defendant’s Pretrial Motion (#128), the parties have negotiated a tentative resolution to this matter.
Accordingly, the hearing on Defendant’s Motion to Suppress (#120) set for September 25, 2013 is vacated
and the Motion to Suppress is vacated, without prejudice, to refiling if the parties are unable to negotiate a
plea agreement.


                                              ______________________________________
                                              GEORGE FOLEY, JR.
                                              United States Magistrate Judge
